Case 1:04-cv-01176-STA Document 27 Filed 08/12/05 Page 1 of 2 Page|D 29

IN THE UNITED STATES DISTRICT CoURT 05 A
FoR THE WESTERN DISTRICT oF TENNESSEE UG 12 p"

WESTERN DIVISION 1 ; _` l "23
tEHV ,n girl i;~"{)i,w
MARQUINTAS D. WALKER, ) V’l@ CF Y`SWTCOUW
Plaintiff, l
vs. l NO.: 04-1176-T-An
PoRTER CABLE/DELTA, l
Defendant. l

 

ORDER SETTING TELEPHONE STATUS CONFERENCE

 

Pursuant to an Orcier of Reference entered August 9, 2005, this case has been referred to
the Magistrate Judge for a Status Conference.

The Court will hold a telephone conference on MONDAY, AUGUST 22, 2005 at 10:30
a.m.. Plaintiff’s counsel shall initiate the telephone conference call and insure that all parties are
present prior to dialing the chambers of the Couit in Jackson, Tennessee at 731-421-9273,

IT IS SO ORDERED.

esi/me le

S. THOMAS ANDERSON
UNlTED STATES MAGISTRATE JUDGE

Date: £U|'Mj' /Z,. ZDDt/

This document entered on the docket sheet in compliance 1

with Rule 58 and,'or,?g (a) FRCP on f l§'l$ `QS

   

UNITD SATES DISTRIC COURT - WE"RNTE DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 27 in
case 1:04-CV-01176 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

